          2:17-cr-20037-JES-JEH # 62     Page 1 of 3                                        E-FILED
                                                           Wednesday, 07 February, 2018 09:46:34 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Case No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                    MOTION FOR LEAVE TO FILE SEALED MOTION

       Defendant Brendt Christensen respectfully moves this Court for an Order

allowing the filing of a Sealed Motion to Recuse the Court from this case. In support of

this Motion, Mr. Christensen states as follows:

       1.      On November 7, 2017, a Sealed Document was filed with the Court as

Docket Number 32. Attempts to access the document by counsel were unsuccessful.

       2.      On January 15, 2018, Mr. Christensen filed a Motion to Permit Counsel to

Access Docket # 32. (R. 37) This Court granted the Motion and allowed counsel for both

parties to review the document. However, Docket Number 32 remains sealed from the

public.

       3.      This Court’s local rules require that before any sealed document can be

filed, the party who has a legal basis to file a document under seal must first seek the

permission of the district court via a motion for leave to file the document under seal.

CDIL Local Rule 49.9(A)(2). The motion must include an explanation of how the




                                              1 
       2:17-cr-20037-JES-JEH # 62        Page 2 of 3



document in question meets the legal standards for filing sealed documents, and file a

copy of the proposed sealed document as a separate docket event. Id.

      4.       In the present case, out of an abundance of caution, Mr. Christensen

requests permission to file the Motion to Recuse the Court under seal. The draft Motion

heavily references the contents of Docket Number 32, which is still under seal. So long

as Docket Number 32 remains sealed, so should any Motion addressing the contents of

that document. A Motion to Unseal Docket # 32 is being filed contemporaneously with

this Motion.

                                   Respectfully submitted,

                                   BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                     /s/ George Taseff
      Assistant Federal Public Defender           Assistant Federal Public Defender
      300 West Main Street                        401 Main Street, Suite 1500
      Urbana, IL 61801                            Peoria, IL 61602
      Phone: 217-373-0666                         Phone: 309-671-7891
      FAX: 217-373-0667                           Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org             Email: George_Taseff@fd.org

      /s/ Robert Tucker
      Robert L. Tucker, Esq.
      7114 Washington Ave
      St. Louis, MO 63130
      Phone: 703-527-1622
      Email: roberttuckerlaw@gmail.com




                                             2 
       2:17-cr-20037-JES-JEH # 62        Page 3 of 3



                              CERTIFICATE OF SERVICE

      I hereby certify that on February 7, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




                                            3 
